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                                                   U.S. Department of Justice


                                                   United States Attorney
                                                   Eastern District of New York
SK/EMR/PP/MED/AA                                   271 Cadman Plaza East
F. #2019R00927                                     Brooklyn, New York 11201


                                                   January 22, 2023
By USAFX

César de Castro, Esq.
111 Fulton Street - 602
New York, New York 10038

Florian Miedel, Esq.
80 Broad Street, Suite 1900
New York, New York 10004

                Re:   United States v. Genaro Garcia Luna
                      Criminal Docket No. 19-576 (S-1) (BMC)

Dear Counsel:

               Enclosed please find the government’s supplemental discovery in accordance
with Rule 16 of the Federal Rules of Criminal Procedure. Please note the enclosed discovery
contains Protected Material and should be handled consistently with the Protective Order. See
Dkt. No. 19. The government also requests reciprocal discovery from the defendant.
I.     The Government’s Discovery

       Enclosed please find:

             0001169120               Defendant’s MDC Calls

       0001169121-0001169123          Federal Aviation Administration Records
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                If you have any questions or requests regarding further discovery or a disposition
of this matter, please do not hesitate to contact me.
                                                     Very truly yours,

                                                     BREON PEACE
                                                     United States Attorney

                                             By:      /s/
                                                     Saritha Komatireddy
                                                     Erin M. Reid
                                                     Philip Pilmar
                                                     Marietou E. Diouf
                                                     Adam Amir
                                                     Assistant U.S. Attorneys
                                                     (718) 254-7000

Enclosures

cc:    Clerk of Court (BMC) (via ECF) (without enclosures)




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